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                                  United States District Court
                         EASTERN                         DISTRICT OF                                yORK

             UNITED STATES OF AMERICA                                MOTION AND ORDER DISMISSING
                                                                     THE COMPLAINT WITHOUT
                          ^                                          PREJUDICE
           KAMALADOSS VETRI SELVAM

                                                                     CASE NUMBER: j 9-M.I-791
             MOTION FOR AN ORDER DISMISSING THE COMPLAINT WITHOUT PREJUDICE
     t




 I, ,
 ^efendant. Counsel forofdefendant
                           America(where
                                   herebyapplicable),
                                          moves to dismiss
                                                      WilliamtheD.complaint
                                                                     Sarrntt without preiudicedoes
                                                                                                as tottottheoppose
                                                                                                             abovethis
                                                                                                                   named
                                                                                                                       motion.
 1
 !

 I        {x Defendant is in custody and should be released,
 j        r Defendant is incarcerated on another matter and should not be released
          I Defendant is not in custody and was released on a bond not secured with property,
     j    F Defendant is not in custody and was released on a bond secured with property,
 j       F Defendant is not in custody and is not released on a bond.
09/26/2019
'
                                                               - 7-—
                                                           ASSISTANT U.S. A TTORNE Y

                        ORDER DISMISSING THE COMPLAINT WITHOUT PREJUDICE
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j        The UnitedStates having moved to dismiss the complaint withoutprejudice and there being no opposition
the motion to dismiss the complaint withoutprejudice isgranted and any outstanding underlying warrants are
hereby vacated.
 i        □ The United States must cooperate with defendant or his counsel in promptly executing all
documents necessary to vacate any liens recorded against property and sureties securing the bond
         SO ORDERED.



         f !:) I.                                              UNITED STA TES MAGISTRA TE JU6GE
 I                                                             Hon. Robert M. Levy
 I
i^O: THE UNITED STA TES MARSHAL FOR THE EASTERN DISTRICT OF NEW YORK
 Ip It is further Ordered that the United States Marshals Service for the Eastern District of New York
         release the above named defendant.
Ip It is further Ordered that the United States Marshals Service for the Eastern District of New York not
 I release the above named defendant since he is incarcerated on another matter.



                                                               UNITED STA TES MA GISTRXtE JUDGE
                                                               Hon. Robert M. Levy
